8:13-cr-00220-RGK-SMB        Doc # 109    Filed: 12/20/13    Page 1 of 1 - Page ID # 318




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )                 8:13CR220
                                            )
      vs.                                   )                   ORDER
                                            )
LANCE M. WOLFE,                             )
                                            )
                    Defendant.              )


      This matter is before the court on the motion of defendant Lance M. Wolfe (Wolfe) for
release from detention pending sentencing (Filing No. 94). A bench warrant for Wolfe
remains outstanding in Adams County, Nebraska. Accordingly, the motion for release is
denied.


      IT IS SO ORDERED.


      DATED this 20th day of December, 2013.


                                                BY THE COURT:


                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge
